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 6
                                 UNITED STATES DISTRICT COURT
 7
                               NORTHERN DISTRICT OF CALIFORNIA
 8

 9    MICHAEL QUIERO, Individually and on            Civil Action No.: 5:25-cv-2294
      Behalf of All Others Similarly Situated,
10                                                   CLASS ACTION
11                                  Plaintiff,
                                                     COMPLAINT FOR VIOLATION
12            v.                                     OF THE FEDERAL SECURITIES
                                                     LAWS
13    APPLOVIN CORPORATION, ADAM
      FOROUGHI, and MATTHEW STUMPF,                  DEMAND FOR JURY TRIAL
14

15                                  Defendants.

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 1          Plaintiff Michael Quiero (“Plaintiff”), individually and on behalf of all other persons

 2   similarly situated, by their undersigned attorneys, alleges in this Complaint for violations of the

 3   federal securities laws (the “Complaint”) the following based upon knowledge with respect to

 4   their own acts, and upon facts obtained through an investigation conducted by his counsel, which

 5   included, inter alia: (a) review and analysis of relevant filings made by AppLovin Corporation

 6   (“AppLovin” or the “Company”) with the United States Securities and Exchange Commission

 7   (the “SEC”); (b) review and analysis of AppLovin’s public documents, conference calls, press

 8   releases, and stock chart; (c) review and analysis of securities analysts’ reports and advisories

 9   concerning the Company; and (d) information readily obtainable on the internet.

10          Plaintiff believes that further substantial evidentiary support will exist for the allegations

11   set forth herein after a reasonable opportunity for discovery. Most of the facts supporting the

12   allegations contained herein are known only to the defendants or are exclusively within their

13   control.

14                                     NATURE OF THE ACTION

15          1.      This is a federa1 securities class action on behalf of all investors who purchased
16   or otherwise acquired AppLovin securities between May 10, 2023 and February 25, 2025,
17   inclusive (the “Class Period”), seeking to recover damages caused by Defendants’ violations of
18   the federal securities laws (the “Class”).
19          2.      Defendants provided investors with material information concerning AppLovin’s
20   financial growth and stability. Defendants’ statements included, among other things, confidence
21   in AppLovin’s launch of its AXON 2.0 digital ad platform and using “cutting-edge AI
22   technologies” to more efficiently match advertisements to mobile games, in addition to expanding
23   into web-based marketing and e-commerce. Moreover, Defendants publicly reported impressive
24   financial results, outlooks, and guidance to investors, all while using dishonest advertising
25   practices.
26          3.      Defendants provided these overwhelmingly positive statements to investors while,
27   at the same time, disseminating materially false and misleading statements and/or concealing
28   material adverse facts related to AppLovin’s manipulative practices to force unwanted apps on

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 1   customers using a “backdoor installation scheme” which inaccurately inflated installation

 2   numbers, and, in turn its profitability. Such statements absent these material facts caused Plaintiff

 3   and other shareholders to purchase AppLovin’s securities at artificially inflated prices.

 4           4.      The truth emerged on February 26, 2025, when analyst research reports emerged

 5   stating that AppLovin was reverse engineering and exploiting advertising data from Meta

 6   Platforms. The reports further alleged AppLovin was utilizing manipulative practices to

 7   artificially inglate their own ad click-through and app download rates, such as by having ads click

 8   on themselves or utilizing design gimmicks to trigger forced shadow downloads, erroneously

 9   inflating installation numbers and, in turn, its profit figures.

10           5.      Investors and analysts reacted immediately to AppLovin’s revelations. The price

11   of AppLovin’s stock declined from $377.06 per share on February 25, 2025 to $331.00 per share

12   on February 26, 2025.

13                                     JURISDICTION AND VENUE

14           6.      Plaintiff brings this action, on behalf of himself and other similarly situated
15   investors, to recover losses sustained in connection with Defendants’ fraud.
16           7.      The claims asserted herein arise under and pursuant to §§10(b) and 20(a) of the
17   Exchange Act (15 U.S.C. §§ 78j(b) and 78t(a)) and Rule 10b-5 promulgated thereunder by the
18   SEC (17 C.F.R. §240.10b-5).
19           8.      This Court has jurisdiction over the subject matter of this action pursuant to 28
20   U.S.C. §§1331 and 1337, and Section 27 of the Exchange Act, 15 U.S.C. §78aa.
21           9.      Venue is proper in this District pursuant to §27 of the Exchange Act and 28 U.S.C.
22   §1391(b), as Defendant AppLovin is headquartered in this District and a significant portion of its
23   business, actions, and the subsequent damages to Plaintiff and the Class, took place within this
24   District.
25           10.     In connection with the acts, conduct and other wrongs alleged in this Complaint,
26   Defendants, directly or indirectly, used the means and instrumentalities of interstate commerce,
27   including but not limited to, the United States mail, interstate telephone communications and the
28   facilities of the national securities exchange.

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 1                                            THE PARTIES

 2          11.     Plaintiff purchased AppLovin common stock at artificially inflated prices during

 3   the Class Period and was damaged upon the revelation of the Defendants’ fraud. Plaintiff’s

 4   certification evidencing his transaction(s) in AppLovin is attached hereto.

 5          12.     AppLovin Corporation is a Delaware corporation with its principal executive

 6   offices located at 1100 Page Mill Road, Palo Alto, California 943041. During the Class Period,

 7   the Company’s common stock traded on the NASDAQ Stock Market (the “NASDAQ”) under

 8   the symbol “APP.”

 9          13.     Defendant Adam Foroughi (“Foroughi”) was, at all relevant times, the Chief

10   Executive Officer and Chairperson of AppLovin.

11          14.     Defendant Matthew Stumpf (“Stumpf”) was, at all relevant times, the Chief

12   Financial Officer of AppLovin.

13          15.     Defendants Foroughi and Stumpf are sometimes referred to herein as the

14   “Individual Defendants.” AppLovin together with the Individual Defendants are referred to herein

15   as the “Defendants.”

16          16.     The Individual Defendants, because of their positions with the Company,

17   possessed the power and authority to control the contents of AppLovin’s reports to the SEC, press

18   releases, and presentations to securities analysts, money and portfolio managers, and institutional

19   investors, i.e., the market. Each Individual Defendant was provided with copies of the Company’s

20   reports and press releases alleged herein to be misleading prior to, or shortly after, their issuance

21   and had the ability and opportunity to prevent their issuance or cause them to be corrected.

22   Because of their positions and access to material non-public information available to them, each

23   of these Individual Defendants knew that the adverse facts specified herein had not been disclosed

24   to, and were being concealed from, the public, and that the positive representations which were

25   being made were then materially false and/or misleading. The Individual Defendants are liable

26   for the false statements pleaded herein, as those statements were each “group-published”

27   information, the result of the collective actions of the Individual Defendants.

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 1          17.       AppLovin is liable for the acts of the Individual Defendants, and its employees

 2   under the doctrine of respondeat superior and common law principles of agency as all the

 3   wrongful act complained of herein were carried out within the scope of their employment with

 4   authorization.

 5          18.       The scienter of the Individual Defendants, and other employees and agents of the

 6   Company are similarly imputed to AppLovin under respondeat superior and agency principles.

 7                                   SUBSTANTIVE ALLEGATIONS

 8                                          Company Background

 9          19.       AppLovin Corporation engages in building a software-based platform for

10   advertisers to enhance the marketing and monetization of their content in the United States and

11   internationally. It operates through two segments, Software Platform and Apps.

12    The Defendants Materially Misled Investors Concerning AppLovin’s AI-powered AXON
                                     2.0 Digital Ad Platform
13

14                                               May 10, 2023

15          20.       On May 10, 2023, AppLovin issued a press release announcing its first quarter

16   2023 financial results, highlighting, in pertinent part:

17                    In the first quarter of 2023 we continued to execute against our growth
                      initiatives and exceeded the top end of our guidance. After substantially
18                    completing our cost and Apps portfolio optimization projects, our team is
                      focused on three key growth initiatives within our Software Platform
19
                      segment: 1) upgrading our core machine learning AXON technology; 2)
20                    expanding our ad solutions into Connected-TV; and 3) extending our
                      marketing platform to carriers and OEMs.
21
            21.       During the same-day earnings call, Defendant Foroughi detailed the improvements
22
     made to the AXON platform and the development of AXON 2.0, stating, in relevant part:
23
                      Upgrading from AXON 1 to 2 is no different than OpenAI moving from
24                    ChatGPT 3 to 4. Our models can always be improved, and our entire
                      business is powered by the evolution of our technology. The enhancements
25
                      to our machine learning and AI are not a onetime thing, but a series of
26                    upgrades over time. As we make these, there is the potential for significant
                      lifts to both revenue and cash flow. We are currently in the midst of a staged
27                    rollout of AXON 2, and we are very excited about the long-term potential
                      of this new technology for our partners and our business.
28

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 1
            22.     During a question-and-answer portion of the same earnings call, Defendants touted
 2
     the rollout of AXON 2.0 and its potential to drive growth across the whole advertising sector:
 3
                    <Q: Zhihua Yank -Oppenheimer & Co.- Analyst> My first question is on
 4                  the strength for software platform. And how much did AXON 2 -- will
                    always AXON 2 a meaningful driver for that performance sequentially?
 5

 6                  <A: Defendant Foroughi> And really AXON 2 we talked about, we're now
                    in the midst of a stage rollout, so that came after the quarter. In Q1, we
 7                  did see improvements in our core technology, the AXON 1.0 version. And
                    incremental improvements in our technology is fundamentally core to our
 8                  business on an ongoing basis. We also saw more confidence from
 9                  advertisers spending on our platform as they were seeing good results.
                    And the mindset in the ecosystem is starting to return back to growth.
10                  We're seeing good industry momentum as well.

11                  <Q: Ralph Edward Schackart -William Blair & Company L.L.C - Analyst>
                    Maybe kind of leading to the software business. You talked about the strong
12                  growth, and it seems like the market is sort of stabilizing. I know you're not
13                  giving full year guidance, but anything that you're seeing currently that
                    would preclude this growth rate sort of persisting through 2023? Or just sort
14                  of broadly speaking, how should we think about growth this year on the
                    software business?
15
                    <A: Defendant Foroughi> We're really looking at it to sort of building
16                  blocks. Last year, obviously, it was difficult for the whole ad ecosystem and
17                  the economy in general. Now we're -- we've got one good quarter in place.
                    The biggest change for us in our business today is we're rolling out AXON
18                  2. It's a material upgrade of our core platform, and we're really excited
                    about it. The team working on this is phenomenal. And so getting this out
19                  to market could become a catalyst for our own growth.
20                  But we've always talked about our position in this market is quite large in
21                  the mobile gaming ecosystem. So if we're able to become more efficient,
                    we'll create growth across the whole sector. And that's what we're really
22                  excited about. We think this -- if it continues to go well as we roll this out
                    throughout the rest of the year, we'll be able to create growth in this
23                  ecosystem irregardless of what's going on around us.
24
                    <Q: Franco Rafael Granda Penaherrera -D.A. Davidson & Co.- Analyst>
25                  I'd like to reference AXON 1 as the same way as AMD references its
                    architectures by saying that they age like fine wine. Are you approaching
26                  AXON 2 in a similar way where the efficiency continues to build on top of
                    itself as you continue to iterate on it?
27
                 <A: Defendant Foroughi> Yes. I mean the world we live in today with these
28
                 AI technologies is the fastest evolution and change in technology we've ever
                                                    5
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 1                   seen in our lifetimes. The rate of innovation is just incredible. And so as
                     we go to AXON 2, there's, on an ongoing basis, incremental
 2                   improvements that we can make to the platform. That will fuel our
                     business for some time. And then there's the incremental uptick to AXON
 3
                     3 and then AXON 4 and AXON 5. This core expertise is going to drive our
 4                   business for a very, very long time. These technologies are only going to
                     get more powerful. And because of our market-leading position, we've got
 5                   so much volume flowing through our systems that efficiency gains from
                     these technologies, as they evolve, will generate lifts to revenue. And we've
 6                   always talked about how our software business technology drive lifts to
                     revenue and a very high flow-through, and that's what we're excited
 7
                     about.
 8
                     (Emphasis added.)
 9                                                 May 8, 2024
10
             23.     On May 8, 2024, AppLovin issued a press release announcing its first quarter 2024
11
     financial results, reporting, in pertinent part:
12
                     The first quarter marked a strong start to 2024 with outstanding business
13                   performance driven by the continued improvement of our AXON
                     technology. We were encouraged to see improvement in the app advertising
14                   market with another quarter of year-over-year market growth and a
                     continued shift to real-time bidding. By continuing to innovate and improve
15                   our AXON technology, we remain committed to driving growth not just for
                     our company, but for the entire ecosystem we support.
16
                     ...
17
                     Our Software Platform segment grew significantly in the first quarter with
18                   Software Platform revenue of $678 million, up 91% year-over-year driven
                     by further improvement of our AXON technology, which continues to
19                   benefit from ongoing self-learning, additional data, and engineering
20                   enhancements. Our technology improvements contributed to greater return
                     on ad spend (ROAS) for our advertisers, leading to increased investment.
21

22           24.     During the corresponding earnings call discussing results, Defendant Foroughi
23   highlighted AppLovin’s strong financial growth as a result of the improved performance from
24   AXON, stating in relevant part:
25                   With AXON 2 turning 1 year old and achieving nearly a full recovery in our
                     share price, after a very difficult 2022, I wanted to reflect on some key
26                   themes that we've consistently stated and now actively proven out.
27
                     We believe our culture is unique. By staying lean and retaining key
28                   contributors, we have built an exceptionally high performing team of

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 1                  subject matter experts capable of innovating faster and more effectively
                    than those at other companies. We believe our business is not limited by the
 2                  size of the mobile gaming market, but rather that our business can drive
                    market growth. Advertisers have increased their spend on our platform as a
 3
                    result of the improved performance from AXON.
 4
                    First, a key driver of our growth will be the ongoing improvements to
 5                  AXON. Our models are still in an early stage and will continue to improve
                    themselves. But more importantly, our teams are still finding ways to
 6                  materially improve these algorithms. While these gains may not be
                    predictable, they may sometimes lead to quarters like Q1 where we far
 7
                    exceed expectations. Second, there is nothing that limits our models to
 8                  just gaming. By expanding into web-based marketing and e-commerce,
                    we expect our AI models to improve with added demand diversity. As we
 9                  continue to execute on the previously discussed themes, we expect to see
                    further growth in our business.
10

11          (Emphasis added).

12
            25.     On the same call Defendant Stumpf reiterated AppLovin’s positive revenue
13
     growth for the quarter, stating, in pertinent part:
14
                    Our software platform also benefited from technology improvements,
15                  including ongoing self-learning, additional data and enhancements by
                    our engineering team. We continue to be optimistic about our ability to
16                  drive compounding efficiencies leading to improved performance for our
17                  advertising partners. Our Apps portfolio remained stable from last quarter,
                    maintaining 15% adjusted EBITDA margin.
18
                    Turning to our second quarter guidance. We expect to deliver between $1.06
19                  billion and $1.08 billion in revenue. Adjusted EBITDA is expected to be
                    within the range of $550 million and $570 million. That represents an
20                  adjusted EBITDA margin between 52% and 53%. In conclusion, we
21                  continue to have confidence in our ability to drive growth from our core
                    business while we work to expand our long-term opportunities.
22
            (Emphasis added).
23
            26.     During the question-and-answer segment of the same earnings call, Defendants
24
     were asked about AppLovin’s AppDiscovery platform and software, specifically AXON 2.0 and
25
     how it has fueled positive growth in the last year, stating in part:
26
                 <Q: William Lampen- BTIG, LLC- Analyst> You mentioned in the
27
                 prepared remarks that this quarter results exceeded your internal
28               expectations. Is there anything specific that you might call out for us
                 amongst the sort of key sources of outperformance? And then I guess sort
                                                 7
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 1              of second and bigger picture, as we think about the trajectory for software
                and AppDiscovery after a couple of quarters of really strong sequential
 2              revenue growth, I think there's some concern percolating that once we
                anniversary the start of the AXON cycle that maybe growth starts to
 3
                asymptote. Could you help us frame up, I guess, current momentum and the
 4              runway that you see within both the core gaming market and new channels
                like e-commerce?
 5
                <A: Defendant Foroughi > So on the first one, I touched on this in the script.
 6              But we've got a few growth vectors. One is going to be adding more
 7              advertisers both within gaming and then breaking out to these new
                verticals that we're working on and quite excited about. Secondarily and
 8              more importantly, anytime we see improvements in our core models, we
                see gains in our business. And there's 2 forms of improvements. These
 9              models are self-learning. So we've got them in the marketplace. We're
                serving a ton of impressions every single day. And there's a feedback loop
10              that gets this data back into the model and it improves itself. So there's a
11              component of that. That's why the system continues to get better since we
                launched it.
12
                And the second piece is our team, obviously, is still working every single
13              day. So every time our research science team creates some sort of
                innovation or breakthrough on those models, that ends up a step function
14              gain in the business. Because if you think about these models, it's all math
15              and if the math gets more accurate, then we're going to see a gain in the
                business. And these are very high-margin gains because there's no cost
16              associated with that gain, there's no sales process to go bank that gain, it's
                just a gain in the business. And so I try to tie it back to the first quarter and
17              performing really well against obviously the toughest quarter in advertising
                against Q4. The gain we saw in the first quarter was predominantly due to
18              just enhancements to the models themselves. And so that's going to be one
19              of our core drivers going forward.

20              Now to the question of the software growth is slow, look, software is
                growing about 90%, 100% year-over-year, and it's a 73% margin business.
21              So we don't need it to grow double every single year. It's a net revenue
                reported business on the vast, vast majority of the revenue. So every
22
                incremental dollar is very, very high margin.
23              ...
                Now we're the best in the world today at driving value to mobile gaming
24              advertisers, and there's nothing that limits our technology from working
                outside gaming, how good could we be in other verticals. So the vertical
25              expansion is a key part of our focus. And then beyond that, we're in the
                business of creating improvements to our technology. So if you start adding
26
                all that up, how do we keep growing this business, there's a lot of levers that
27              we have to pull to be really excited. And that's why it ended with we've
                never been more excited about the prospects we have in front of us than we
28              are today.

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 1
                 <Q: Ralph Edward Schackart- William Blair & Company- Analyst> You've
 2               been fairly consistent in saying that AXON 2 engine works outside sort of
                 the gaming vertical, and you sort of touched on that in your last response.
 3
                 Can you maybe give an update sort of where you are in that sort of effort
 4               outside of gaming? Do you need a new sales force? Are you testing? Any
                 results you could share, sort of want to get a sense of sort of where you are
 5               in that effort.
 6               <A: Defendant Foroughi> And a couple of things. One is, we look at the
                 advertising world with apps and websites, right? Like there's 2 forms of
 7
                 media that people are buying to the end destination. And today in the app
 8               marketing world, we're very good at gaming. We also work with
                 nongaming apps, and we've seen success once we rolled out AXON 2
 9               across a variety of nongaming companies growing on our platform, too.
                 And I think last call, we touched on that the non-gaming app space is
10               growing faster than the gaming app space on our platform just because it
11               starts from a lower base.

12               That success hasn't changed. We still see the same trajectory. Now what
                 has us excited and what we've been working on is launching the first form
13               of web advertising on our platform. And if you think about a lot of
                 transactional industries, e-commerce, in particular, most of the
14               transactions are still done on the website, not the mobile application
15               because a lot of shops don't even have a mobile application. And so that's
                 been work we've been doing. We will be bringing that product to market
16               this quarter, and it's something we're very, very excited about as a way to
                 really build out a lot more demand density into our platform.
17
                 <Q: Jason Boisvert Bazinet – Citigroup Inc.- Analyst> Would you mind just
18               giving us an update on your sales process? I remember several years ago,
19               you sort of made fun of yourself because you didn't really have a sales force
                 and didn't think about it. And I'm just trying to get a sense. You haven't
20               talked about it as a vector. But is all of this growth we're seeing a function
                 of sales and the technology? Or is it just purely the technology and it's sort
21               of selling itself based on the return...
22
                 <A: Defendant Foroughi> We believe if we build great products and we
23               innovate well, that if the advertisers are seeing success on our platform,
                 they're going to tell their peers and their peers are going to come to our
24               platform and this thing could self-sell itself. And we've seen that happen
                 in mobile gaming as AXON 2 continues to perform well.
25               ...
26
                 When we look at outside of gaming, we're still -- we have no interest in
27               getting into brand advertising. So everything is performance-based. We
                 fundamentally want to play -- replay the same playbook, where we're not
28               going to invest heavily in sales now. In some of these transactional

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 1                  categories outside gaming, you do need some presence, some marketing,
                    some sales, but it's not going to be a heavy investment.
 2
                    And we do believe that if we're able to go drive the same result where, for
 3
                    instance, in e-commerce to shop, see a lot of benefit from marketing on
 4                  our platform and they can measure the result and they see a stronger
                    result on our platform and some of the other channels they buy on, there's
 5                  going to be a lot of interest because these other transactionally charged
                    categories desperately need more marketing available to them as those
 6                  industries are struggling to grow themselves.
 7
                    <Q: Omar Dessouky – Bank of America Securities- Analyst> I didn't see
 8                  net revenue for install growth on your letter. Could you update us on that
                    and give us any kind of the puts and takes around that?
 9
                    <A: Defendant Foroughi> But similar to prior quarters, we've had an
10                  increase in both the net revenue per install as well as the volume of
11                  installations, and that's through the continued improvement of AXON
                    that we've been talking about. As the technology continues to improve, we
12                  should see both a growth in the amount of money that we're making per
                    installation and volume of install as we see more advertisers increasing
13                  their spend.
14          (Emphasis added.)
15
                                              November 6, 2024
16
            27.     On November 6, 2024, AppLovin issued a press release announcing its third
17
     quarter 2024 financial results, highlighting, in relevant part:
18
                    Our AXON models continue to improve through self-learning and, more
19                  importantly this quarter, from technology enhancements by our engineering
20                  team. As we continue to improve our models our advertising partners are
                    able to successfully spend at a greater scale. We're proud to be a catalyst to
21                  reinvigorating growth in our industry.
                    ...
22
                    Our Software Platform segment continued to grow in the third quarter, with
23                  Software Platform revenue of $835 million, up 66% year-over-year, driven
24                  by continued development of our AXON engine through ongoing self-
                    learning and directed model enhancements. These technology
25                  enhancements allowed our advertising partners to further increase the scale
                    of their spend on our platform while consistently achieving their return on
26                  ad spend ("ROAS") goals.
27

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 1          28.     During an earnings call held the same day, Defendant Foroughi touted the

 2   Company’s positive growth driven by enhancements to its AXON algorithm and AI software

 3   development, stating, in pertinent part:

 4                  We continue to execute well, expanding our core business and laying the
                    groundwork for its sustained growth. Last quarter, I shared our confidence
 5                  in achieving 20% to 30% year-over-year growth for the foreseeable future.
                    We continue to expect 4% to 5% quarterly growth through self-learning and
 6
                    market growth, with occasional step changes resulting from enhancements
 7                  to our AXON algorithm.

 8                  This quarter, we saw one of those step changes, with meaningful growth
                    driven by advancements to AXON. While we can't predict the timing of
 9                  these breakthroughs, we are in the early stages of AI software
                    development, both within our company and in the broader industry. We
10
                    expect ongoing research advancements to continue driving our
11                  technology forward.

12                  While we remain confident in 20% to 30% growth for mobile gaming
                    advertisers alone, we're also exploring new areas, as shown by our recent e-
13                  commerce pilot. Early data has exceeded our expectations, with the
14                  advertisers in the pilot seeing substantial returns, often surpassing those
                    from other media channels and, in many cases, experiencing nearly 100%
15                  incrementality from our traffic.

16                  (Emphasis added.)
17

18          29.     On the same call, Defendant Stumpf attributed AppLovin’s positive third quarter

19   revenue growth to AXON enhancements, stating, in part:

20                  During the quarter, improvements in our AXON technology, driven by
                    ongoing self-learning, and enhancements by our engineering team
21                  contributed to further growth of our software platform. This segment
                    generated $835 million in revenue and $653 million in adjusted EBITDA,
22                  achieving a 78% margin and growing 66% in revenue and 79% in adjusted
                    EBITDA from the same period last year. Quarter-over-quarter flow-through
23                  from revenue to adjusted EBITDA was 107%.
24                  ...
                    Our Apps revenue for the quarter was $363 million, a 1% increase from last
25                  year, with $68 million in adjusted EBITDA representing a 19% margin. We
                    continue to expect the Apps business to be stable in the future. We believe
26                  a strong capital structure and effective capital allocation plan are crucial to
                    the creation of long-term shareholder value. To that end, we're focused on
27
                    a few areas.
28
                    (Emphasis added.)
                                        11
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 1
            30.     During the question-and-answer segment of the same earnings call, Defendants
 2
     were asked by analysts about the possibility of expanding from gaming into e-commerce using
 3
     AXON 2.0, stating, in relevant part:
 4
                    <Q: Matthew Andrew Cost – Morgan Stanley- Analyst> f you can move
 5                  beyond gaming, do you believe you can move to other verticals?
 6
                    <A: Defendant Foroughi> 10 years from now, we think every advertiser that
 7                  has a transactional model, whether it's collecting an e-mail address for a
                    newsletter or a local pizza shop or an e-commerce brand or a gambling
 8                  brand or a gaming brand or anything across any category, can buy on our
                    platform and do it at scale. So there's no limitation to the power of the math
 9                  and the technology that we've written.
10
                    But the only limitation, the only reason why we referenced it as e-
11                  commerce today is the go-to-market. We do want to be thoughtful about
                    how we penetrate new categories. But even inside e-commerce, we're not
12                  approaching it as we're only going to go to fashion and then we're going
                    to go to beauty. We're approaching it as we're going to go to the entirety
13                  of e-commerce, and then we're going to go to the entirety of the rest of the
14                  categories of advertising that matter. And then hopefully, we're going to
                    go to the whole world of transactional businesses over time.
15
                    <Q: Vasily Karasyov – Cannonball Research- Analyst> So can you help us
16                  understand this e-commerce opportunity?
17                  Is it just taking AXON 2.0 as it is and just making minor tweaks so that it
18                  just selects for targeted potential e-commerce customers? Or is it a big
                    overhaul? And then how much of an advantage will you be able to take from
19                  the gaming and take it to e-commerce? And who -- if you can, whom will
                    you be competing against? Who is currently taking up those budgets?
20
                    <A: Defendant Foroughi> So starting with like competition. I don't think,
21                  to date, anyone has delivered a solution inside mobile games for categories
22                  outside of gaming. And so we're going into greenfield. And what's exciting
                    about these shops, and I said this on my talk track, when they're marketing
23                  on our platform today, this is a new audience.

24                  They're not otherwise able to reach this audience in that moment in time.
                    So when we're able to show an ad for them and do it precisely and
25
                    measure it all, there's an immense amount of incremental value for them
26                  from that advertisement. So it's a really strong solution for them.

27                  So it will continue to make our platform able to monetize that audience
                    better, which is going to be a huge boon for our business and very healthy
28                  for the publisher as well, who will generate more dollars from their users,
                                       12
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 1                  but also get more diversity of content to their users. And in this case, if
                    you're a game publisher, an e-commerce ad is not for someone who is
 2                  building another game, it's for something that is completely different than
                    your product. So it's a great win-win for all parties involved.
 3

 4                  On the technology side, I never like to talk about complexities of
                    technology. I certainly wouldn't say anything we do is simple. I don't think
 5                  a lot of people in the world, I mean, maybe hundreds, max, engineers
                    understand how to build these types of platforms. We've seen very few,
 6                  only a handful of software implementations that are compelling at scale
                    inside what we're calling these AI technologies, and we're one of those.
 7

 8                  And our engineers are building really complicated technologies that can do
                    a lot more than just the first implementation did, which was drive
 9                  performance marketing to gaming. So we think there's going to be a lot of
                    expansion opportunity over time. The technology platform is really
10                  powerful, and math is not limited to categories. So there's going to be, I
11                  think, years of growth ahead of us.

12                  <Q: Zhihua Yang– Oppenheimer & Co.- Analyst> On gaming, do you think
                    your customers are responding pretty consistently to step-up in AXON 2.0's
13                  performance? Is there certain customers that will ramp up spending faster
                    than the others?
14

15                  <A: Defendant Foroughi> No. Like I said, it's the most exciting product
                    that we've ever launched. We've never seen this kind of data on a new
16                  product. And if you recall, I mean, I don't voice optimism much since
                    we've gone public on new products. We've talked about a lot of products.
17                  We are a very entrepreneurial company. We will try a lot of things. But
                    the last time I talked about a really good product was when we launched
18                  AXON 2.0. That turned out pretty good for us, our company, our partners
19                  and our investors.

20                  So if we're talking about this product as being the most compelling one
                    we've seen yet, that you can assume we're not running into bottlenecks,
21                  other than like we just don't have the capacity yet in terms of human
                    capital and every solution component automated to scale it out as quickly
22
                    as the market demands. So we've got to line out the door of companies
23                  that want to jump on to this platform.

24                  (Emphasis added.)

25                                            February 12, 2025
26
            31.     On February 12, 2025, AppLovin issued a press release announcing positive
27
     financial results for the fourth quarter 2024, reporting, in pertinent part:
28

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 1                  From the outset, we committed to building products that not only automated
                    marketing but also delivered measurable incremental earnings. We wanted
 2                  to design a platform to help our customers spend every dollar on acquiring
                    users profitably and transparently. This principle continues to guide the
 3
                    innovations we deliver to our partners.
 4
                    These principles were on full display in 2024, a year that not only brought
 5                  significant growth— marked by a remarkable 75% increase in revenue in
                    our advertising business1—but also showcased the transformative
 6                  potential of AI and automation. We’ve spent several quarters optimizing
                    our teams to embrace automation, knowing the world is moving in this
 7
                    direction. We believe those who view these technologies as allies, rather
 8                  than threats, will unlock extraordinary potential and we aim to lead by
                    example.
 9                  ...
10                  As we look ahead to 2025, I’m excited by several key initiatives that will
11                  drive our next phase of growth:

12                  1. Advancing Our Models We are still in the early stages of improving our
                    advertising AI models. The roadmap ahead is filled with opportunities for
13                  iteration, and as we execute, we believe we can continue to drive value
                    creation for our shareholders.
14

15                  2. Personalizing Ad Experiences Our ad experience today is static, where
                    users see similar looking advertisements created by humans. With AI, we
16                  aim to scale this process exponentially by creating countless iterations and
                    dynamically selecting personalized creatives for each user. This will unlock
17                  improved consumer engagement and response.
18                  3. Automating Our Dashboard In 2025, we plan to launch a self-service
19                  dashboard powered by AI agents to help our customers manage their
                    campaigns.
20
                    (Emphasis added.)
21
            32.     Defendant Foroughi continued to tout the Company’s use of AI technologies to
22
     drive growth, stating, in part:
23
                    Over the last few years, our team has achieved extraordinary things. We’ve
24
                    built an advertising model as powerful as any advertising AI model in the
25                  world, delivering measurable success for our partners. Early adopters in
                    gaming and direct-to-consumer commerce have already seen the impact
26                  of our technology, and our mission is clear: to onboard every business
                    that wants to drive measurable growth.
27

28

                                        14
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 1                 We are driven by the belief that our technology can positively impact the
                   global economy. By helping businesses of all kinds efficiently connect with
 2                 their audiences, we unlock their potential to grow and thrive.
 3
                   (Emphasis added.)
 4
             33.   An earnings call was held the same day, wherein Defendant Foroughi discussed
 5
     the substantial gains made by AppLovin since the AXON upgrade in 2023, stating, in relevant
 6
     part:
 7
                   Q4 was a major milestone, arguably our most foundational period since the
 8                 AXON upgrade in 2023. For the first time, we captured meaningful holiday
                   shopping advertising dollars and witnessed the impact of an advertising
 9                 category beyond solely gaming contributing to our growth. I'm sure many
                   of you are curious about how much revenue our e-commerce category
10
                   contributed.
11
                   In line with this expanding focus on advertising, we've been assessing how
12                 best to invest our resources to serve the needs of a global client base. Seven
                   years ago, we began acquiring gaming studios to help train our earliest
13                 machine learning models, an invaluable step in shaping the AI that
14                 underpins our AXON platform. However, we've never been a game
                   developer at heart. We have immense respect for the creativity it takes to
15                 build games, including from teams in our studios.

16           34.   During the question-and-answer portion of the call, William Blair analyst asked
17   about the Company’s expansion into e-commerce in 2025:
18                 <Q: Ralph Edward Schackart – William Blair- Analyst> But just in terms
                   of e-commerce, obviously, a lot of excitement here, and things seem to be
19                 going really well. Do you still -- I think, before, you've talked about it
20                 contributing to be a material contribution in 2025.

21                 <A: Defendant Stumpf> We still feel very confident, Ralph, in the ability
                   for us to contribute a material portion of revenue from the e-commerce
22                 opportunity in 2025. But again, it's very difficult to predict when and how
                   much that growth is going to come in during the period in 2025. So I think
23                 we'll see it when it comes, and then we'll provide more details there.
24
                   <A: Defendant Foroughi> And then what I've given consistently is, look,
25                 our business predictably has got 20% year-over-year growth in it. And that's
                   from just the baseline of operating within the category that we've always
26                 traditionally operated.
27
                 And then you've got these things that can drive material upside that's really
28               exciting for us. They're unpredictable. And when things are unpredictable,
                 a lot of times people assume they're going to be unpredictably bad. Well, in
                                                  15
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 1                  our business, we've got 2 things that could be unpredictably really good.
                    One is these model enhancements. We're really, really early still in AI
 2                  development and research, both inside our company and then obviously
                    externally, too. This is not a field that's mature. It's early in its existence.
 3
                    It's only going to get better. And when our models get better, we've all
 4                  seen the impact to revenue.

 5                  (Emphasis added.)
 6
             35.    The above statements in Paragraphs 20 to 34 were false and/or materially
 7
     misleading. Defendants created the false impression that AppLovin’s enhanced AXON 2.0
 8
     digital ad platform, in addition to is “cutting-edge AI technologies” would more efficiently match
 9
     advertisements to mobile games, in addition to expanding into web-based marketing and e-
10
     commerce. In truth, AppLovin is exploiting advert data from Meta Platforms and using
11
     manipulative practices that forced unwanted apps on customers via a “backdoor installation
12
     scheme” which inaccurately inflated installation numbers, and, in turn, its profit figures.
13
                                            The Truth Emerges
14

15                                           February 26, 2025

16           36.    On February 26, 2025, Culper Research and Fuzzy Panda Research published

17   reports that AppLovin’s AI-powered AXON 2.0 digital ad platform is a façade and not the main

18   driver in the Company’s recent financial growth. The reports claim that AppLovin uses

19   manipulative practices, such as exploiting app permissions in order to carry out installations

20   without users noticing, thereby erroneously inflating installation numbers, and, in turn, profit

21   figures. Additionally, the reports find that AppLovin is reverse engineering and exploiting advert

22   data from Meta Platforms to make it appear that their e-commerce segment is performing better

23   than it is.

24           37.    Based on their findings, Culper Research discovered that from approximately late

25   2022 to at least late 2024, around the time AppLovin’s high margin software revenue began

26   skyrocketing, the Company uncovered a code which enabled AppLovin to directly download apps

27   onto consumers’ phones without prior knowledge or approval. Culper reports, “[t]he permission

28   allows the apps to “bind” to AppHub, effectively borrowing or inheriting AppHub’s one-click

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 1   direct install permissions as their own. This permission is presently embedded within many of the

 2   most popular free-to-play games in the world, including Subway Surfers, 8 Ball Pool,

 3   Wordscapes, and Angry Birds 2.”

 4          38.     The aforementioned press releases and statements made by the Individual

 5   Defendants are in direct contrast to statements they made during the press releases and associated

 6   earnings calls held on May 10, 2023, May 8, 2024, November 6, 2024 and February 12, 2025.

 7   During the earnings calls and related statements, AppLovin’s executives continually touted the

 8   new and improved AXON 2.0 platform and cutting edge AI technologies as the main reason why

 9   the Company has seen exponential growth since 2022. In actuality, AppLovin used manipulative

10   practices that forced unwanted apps on customers via a “backdoor installation scheme” in order

11   to erroneously inflate installation numbers, and, in turn, its profit numbers.

12          39.     As a result, investors and analysts reacted immediately to AppLovin’s revelations.

13   The price of AppLovin’s stock declined from $377.06 per share on February 25, 2025 to $331.00

14   per share on February 26, 2025.

15                                      Loss Causation and Economic Loss

16          40.     During the Class Period, as detailed herein, AppLovin and the Defendants made
17   materially false and misleading statements and engaged in a scheme to deceive the market and a
18   course of conduct that artificially inflated the price of AppLovin’s common stock and operated
19   as a fraud or deceit on Class Period purchasers of AppLovin’s common stock by materially
20   misleading the investing public. Later, when AppLovin and Defendants’ prior misrepresentations
21   and fraudulent conduct became apparent to the market, the price of AppLovin’s common stock
22   materially declined, as the prior artificial inflation came out of the price over time. As a result of
23   their purchases of AppLovin’s common stock during the Class Period, Plaintiff and other
24   members of the Class suffered economic loss, i.e., damages under federal securities laws.
25          41.     AppLovin’s stock price fell in response to the corrective event on February 26,
26   2025, as alleged supra. On February 26, 2025, Defendants disclosed information that was directly
27   related to their prior misrepresentations and material omissions concerning AppLovin’s financial
28   growth and stability.
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 1           42.     In particular, on February 26, 2025, Culper Research and Fuzzy Panda published

 2   research reports stating AppLovin was reverse-engineering and exploiting advertising data from

 3   Meta Platforms. The reports further allege AppLovin was utilizing manipulative practices to drive

 4   their own ad click-through and app download rates higher, such as by having ads click on

 5   themselves or utilizing design gimmicks to trigger forced shadow downloads, erroneously

 6   inflating installation numbers and, in turn, its profit figures.

 7                           Presumption of Reliance; Fraud-On-The-Market

 8           43.     At all relevant times, the market for AppLovin’s common stock was an efficient

 9   market for the following reasons, among others:

10           (a)     AppLovin’s common stock met the requirements for listing and was listed and

11   actively traded on the NASDAQ during the Class Period, a highly efficient and automated market;

12           (b)     AppLovin communicated with public investors via established market

13   communication mechanisms, including disseminations of press releases on the national circuits

14   of major newswire services and other wide-ranging public disclosures, such as communications

15   with the financial press and other similar reporting services;

16           (c)     AppLovin was followed by several securities analysts employed by major

17   brokerage firms who wrote reports that were distributed to the sales force and certain customers

18   of their respective brokerage firms during the Class Period. Each of these reports was publicly

19   available and entered the public marketplace; and

20           (d)     Unexpected material news about AppLovin was reflected in and incorporated into

21   the Company’s stock price during the Class Period.

22           44.     As a result of the foregoing, the market for AppLovin’s common stock promptly

23   digested current information regarding the Company from all publicly available sources and

24   reflected such information in AppLovin’s stock price. Under these circumstances, all purchasers

25   of AppLovin’s common stock during the Class Period suffered similar injury through their

26   purchase of AppLovin’s common stock at artificially inflated prices, and a presumption of

27   reliance applies.

28

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 1          45.     Alternatively, reliance need not be proven in this action because the action

 2   involves omissions and deficient disclosures. Positive proof of reliance is not a prerequisite to

 3   recovery pursuant to ruling of the United States Supreme Court in Affiliated Ute Citizens of Utah

 4   v. United States, 406 U.S. 128 (1972). All that is necessary is that the facts withheld be material

 5   in the sense that a reasonable investor might have considered the omitted information important

 6   in deciding whether to buy or sell the subject security.

 7                  No Safe Harbor; Inapplicability of Bespeaks Caution Doctrine

 8          46.     The statutory safe harbor provided for forward-looking statements under certain

 9   circumstances does not apply to any of the material misrepresentations and omissions alleged in

10   this Complaint. As alleged above, Defendants’ liability stems from the fact that they provided

11   investors with materially misleading statements about its financial growth and stability while at

12   the same time omitting then existing material adverse information concerning the Company’s

13   advertising practices. Defendants provided the public with information about their operations that

14   failed to account for negative realities concerning their undisclosed conduct.

15          47.     To the extent certain of the statements alleged to be misleading or inaccurate may

16   be characterized as forward looking, they were not identified as “forward-looking statements”

17   when made and there were no meaningful cautionary statements identifying important factors that

18   could cause actual results to differ materially from those in the purportedly forward-looking

19   statements.

20          48.     Defendants are also liable for any false or misleading “forward-looking

21   statements” pleaded because, at the time each “forward-looking statement” was made, the speaker

22   knew the “forward-looking statement” was false or misleading and the “forward-looking

23   statement” was authorized and/or approved by an executive officer of AppLovin who knew that

24   the “forward-looking statement” was false. Alternatively, none of the historic or present-tense

25   statements made by Defendants were assumptions underlying or relating to any plan, projection,

26   or statement of future economic performance, as they were not stated to be such assumptions

27   underlying or relating to any projection or statement of future economic performance when made,

28

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 1   nor were any of the projections or forecasts made by the defendants expressly related to or stated

 2   to be dependent on those historic or present-tense statements when made.

 3                                  CLASS ACTION ALLEGATIONS

 4          49.     Plaintiff brings this action as a class action pursuant to Federal Rule of Civil

 5   Procedure 23(a) and (b)(3) on behalf of a Class, consisting of all those who purchased or

 6   otherwise acquired AppLovin’s common stock during the Class Period (the “Class”); and were

 7   damaged upon the revelation of the alleged corrective disclosure. Excluded from the Class are

 8   defendants herein, the officers and directors of the Company, at all relevant times, members of

 9   their immediate families and their legal representatives, heirs, successors or assigns and any entity

10   in which defendants have or had a controlling interest.

11          50.     The members of the Class are so numerous that joinder of all members is

12   impracticable. Throughout the Class Period, AppLovin’s common stock were actively traded on

13   the NASDAQ. While the exact number of Class members is unknown to Plaintiff at this time and

14   can be ascertained only through appropriate discovery, Plaintiff believes that there are hundreds

15   or thousands of members in the proposed Class. Record owners and other members of the Class

16   may be identified from records maintained by AppLovin or its transfer agent and may be notified

17   of the pendency of this action by mail, using the form of notice similar to that customarily used

18   in securities class actions. As of February 24, 2025, there were 309 million shares of the
19   Company’s Class A common stock outstanding and 30 million shares of the Company’s Class B
20   common stock outstanding. Upon information and belief, these shares are held by thousands, if
21   not millions, of individuals located throughout the country and possibly the world. Joinder would
22   be highly impracticable.
23          51.     Plaintiff’s claims are typical of the claims of the members of the Class as all
24   members of the Class are similarly affected by Defendants’ wrongful conduct in violation of
25   federal law that is complained of herein.
26          52.     Plaintiff will fairly and adequately protect the interests of the members of the Class
27   and has retained counsel competent and experienced in class and securities litigation. Plaintiff has
28   no interests antagonistic to or in conflict with those of the Class.

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 1             53.   Common questions of law and fact exist as to all members of the Class and

 2   predominate over any questions solely affecting individual members of the Class. Among the

 3   questions of law and fact common to the Class are:

 4             (a)   whether the federal securities laws were violated by Defendants’ acts as alleged

 5                   herein;

 6             (b)   whether statements made by Defendants to the investing public during the Class

 7                   Period misrepresented material facts about the business, operations and

 8                   management of AppLovin;

 9             (c)   whether the Individual Defendants caused AppLovin to issue false and misleading

10                   financial statements during the Class Period;

11             (d)   whether Defendants acted knowingly or recklessly in issuing false and misleading

12                   financial statements;

13             (e)   whether the prices of AppLovin’s common stock during the Class Period were

14                   artificially inflated because of the Defendants’ conduct complained of herein; and

15             (f)   whether the members of the Class have sustained damages and, if so, what is the

16                   proper measure of damages.

17             54.   A class action is superior to all other available methods for the fair and efficient

18   adjudication of this controversy since joinder of all members is impracticable. Furthermore, as

19   the damages suffered by individual Class members may be relatively small, the expense and

20   burden of individual litigation make it impossible for members of the Class to individually redress

21   the wrongs done to them. There will be no difficulty in the management of this action as a class

22   action.

23                                                COUNT I

24                               Against All Defendants for Violations of
                          Section 10(b) and Rule 10b-5 Promulgated Thereunder
25
               55.   Plaintiff repeats and realleges each and every allegation contained above as if fully
26
     set forth herein.
27

28

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 1          56.      This Count is asserted against defendants and is based upon Section 10(b) of the

 2   Exchange Act, 15 U.S.C. § 78j(b), and Rule 10b-5 promulgated thereunder by the SEC.

 3          57.      During the Class Period, Defendants engaged in a plan, scheme, conspiracy and

 4   course of conduct, pursuant to which they knowingly or recklessly engaged in acts, transactions,

 5   practices and courses of business which operated as a fraud and deceit upon. Plaintiff and the

 6   other members of the Class; made various untrue statements of material facts and omitted to state

 7   material facts necessary in order to make the statements made, in light of the circumstances under

 8   which they were made, not misleading; and employed devices, schemes and artifices to defraud

 9   in connection with the purchase and sale of securities. Such scheme was intended to, and,

10   throughout the Class Period, did: (i) deceive the investing public, including Plaintiff and other

11   Class members, as alleged herein; (ii) artificially inflate and maintain the market price of

12   AppLovin common stock; and (iii) cause Plaintiff and other members of the Class to purchase or

13   otherwise acquire AppLovin’s securities at artificially inflated prices. In furtherance of this

14   unlawful scheme, plan and course of conduct, Defendants, and each of them, took the actions set

15   forth herein.

16          58.      Pursuant to the above plan, scheme, conspiracy and course of conduct, each of the

17   defendants participated directly or indirectly in the preparation and/or issuance of the quarterly

18   and annual reports, SEC filings, press releases and other statements and documents described

19   above, including statements made to securities analysts and the media that were designed to

20   influence the market for AppLovin’s securities. Such reports, filings, releases and statements were

21   materially false and misleading in that they failed to disclose material adverse information and

22   misrepresented the truth about the Company.

23          59.      By virtue of their positions at the Company, Defendants had actual knowledge of

24   the materially false and misleading statements and material omissions alleged herein and intended

25   thereby to deceive Plaintiff and the other members of the Class, or, in the alternative, Defendants

26   acted with reckless disregard for the truth in that they failed or refused to ascertain and disclose

27   such facts as would reveal the materially false and misleading nature of the statements made,

28   although such facts were readily available to Defendants. Said acts and omissions of defendants

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 1   were committed willfully or with reckless disregard for the truth. In addition, each defendant

 2   knew or recklessly disregarded that material facts were being misrepresented or omitted as

 3   described above.

 4          60.     Information showing that Defendants acted knowingly or with reckless disregard

 5   for the truth is peculiarly within defendants’ knowledge and control. As the senior managers

 6   and/or directors of the Company, the Individual Defendants had knowledge of the details of

 7   AppLovin’s internal affairs.

 8          61.     The Individual Defendants are liable both directly and indirectly for the wrongs

 9   complained of herein. Because of their positions of control and authority, the Individual

10   Defendants were able to and did, directly or indirectly, control the content of the statements of

11   the Company. As officers and/or directors of a publicly-held company, the Individual Defendants

12   had a duty to disseminate timely, accurate, and truthful information with respect to AppLovin’s

13   businesses, operations, future financial condition and future prospects. As a result of the

14   dissemination of the aforementioned false and misleading reports, releases and public statements,

15   the market price of AppLovin’s common stock was artificially inflated throughout the Class

16   Period. In ignorance of the adverse facts concerning the Company which were concealed by

17   Defendants, Plaintiff and the other members of the Class purchased or otherwise acquired

18   AppLovin’s common stock at artificially inflated prices and relied upon the price of the common

19   stock, the integrity of the market for the common stock and/or upon statements disseminated by

20   Defendants, and were damaged thereby.

21          62.     During the Class Period, AppLovin’s common stock was traded on an active and

22   efficient market. Plaintiff and the other members of the Class, relying on the materially false and

23   misleading statements described herein, which the defendants made, issued or caused to be

24   disseminated, or relying upon the integrity of the market, purchased or otherwise acquired shares

25   of AppLovin’s common stock at prices artificially inflated by defendants’ wrongful conduct. Had

26   Plaintiff and the other members of the Class known the truth, they would not have purchased or

27   otherwise acquired said common stock, or would not have purchased or otherwise acquired them

28   at the inflated prices that were paid. At the time of the purchases and/or acquisitions by Plaintiff

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 1   and the Class, the true value of AppLovin’s common stock was substantially lower than the prices

 2   paid by Plaintiff and the other members of the Class. The market price of AppLovin’s common

 3   stock declined sharply upon public disclosure of the facts alleged herein to the injury of Plaintiff

 4   and Class members.

 5          63.     By reason of the conduct alleged herein, Defendants knowingly or recklessly,

 6   directly or indirectly, have violated Section 10(b) of the Exchange Act and Rule 10b-5

 7   promulgated thereunder.

 8          64.     As a direct and proximate result of defendants’ wrongful conduct, Plaintiff and the

 9   other members of the Class suffered damages in connection with their respective purchases,

10   acquisitions and sales of the Company’s common stock during the Class Period, upon the

11   disclosure that the Company had been disseminating misrepresented financial statements to the

12   investing public.

13                                               COUNT II

14                                   Against the Individual Defendants
                            for Violations of Section 20(a) of the Exchange Act
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            65.     Plaintiff repeats and realleges each and every allegation contained in the foregoing
16
     paragraphs as if fully set forth herein.
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            66.     During the Class Period, the Individual Defendants participated in the operation
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     and management of the Company, and conducted and participated, directly and indirectly, in the
19
     conduct of the Company’s business affairs. Because of their senior positions, they knew the
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     adverse non-public information about AppLovin’s misstatements.
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            67.     As officers and/or directors of a publicly owned company, the Individual
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     Defendants had a duty to disseminate accurate and truthful information, and to correct promptly
23
     any public statements issued by AppLovin which had become materially false or misleading.
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            68.     Because of their positions of control and authority as senior officers, the Individual
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     Defendants were able to, and did, control the contents of the various reports, press releases and
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     public filings which AppLovin disseminated in the marketplace during the Class Period
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     concerning the misrepresentations. Throughout the Class Period, the Individual Defendants
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 1   exercised their power and authority to cause AppLovin to engage in the wrongful acts complained

 2   of herein. The Individual Defendants therefore, were “controlling persons” of the Company

 3   within the meaning of Section 20(a) of the Exchange Act. In this capacity, they participated in

 4   the unlawful conduct alleged which artificially inflated the market price of AppLovin’s common

 5   stock.

 6            69.    Each of the Individual Defendants, therefore, acted as a controlling person of the

 7   Company. By reason of their senior management positions and/or being directors of the

 8   Company, each of the Individual Defendants had the power to direct the actions of, and exercised

 9   the same to cause, AppLovin to engage in the unlawful acts and conduct complained of herein.

10   Each of the Individual Defendants exercised control over the general operations of the Company

11   and possessed the power to control the specific activities which comprise the primary violations

12   about which Plaintiff and the other members of the Class complain.

13            70.    By reason of the above conduct, the Individual Defendants and/or AppLovin are

14   liable pursuant to Section 20(a) of the Exchange Act for the violations committed by the

15   Company.

16                                        PRAYER FOR RELIEF

17            WHEREFORE, Plaintiff demand judgment against defendants as follows:
18            A.     Determining that the instant action may be maintained as a class action under Rule
19   23 of the Federal Rules of Civil Procedure, and certifying Plaintiff as the Class representatives;
20            B.     Requiring Defendants to pay damages sustained by Plaintiff and the Class by
21   reason of the acts and transactions alleged herein;
22            C.     Awarding Plaintiff and the other members of the Class pre-judgment and post-
23   judgment interest, as well as their reasonable attorneys’ fees, expert fees and other costs; and
24            D.     Awarding such other and further relief as this Court may deem just and proper.
25                                   DEMAND FOR TRIAL BY JURY
26            Plaintiff hereby demands a trial by jury.
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 1   Dated: March 5, 2025                  Respectfully Submitted,

 2                                         LEVI & KORSINSKY, LLP
 3

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 8                                         Attorneys for Plaintiff

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